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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                TALLAHASSEE DIVISION

JAMES HARDEN and ESTELLA
HARDEN,

      Plaintiffs,

v.                                                     CASE NO. 4:11-cv-537-RS-CAS

BLUE FLASH EXPRESS, LLC, and
JAMES R. SMITH,

      Defendants.
_________________________________________/

                                               ORDER

      Before me is the Mediation Report (Doc. 22). Pursuant to N.D. Fla. Loc. R. 16.2(D), IT

IS ORDERED:

             1.     This case is dismissed with prejudice from the active docket of the court.

             2. In the event that the settlement between these parties is not consummated, the

                    Court reserves jurisdiction, upon motion filed by any party within 60 days of

                    the date of this Order, to amend or vacate and set aside this Order and

                    reinstate the case.

             3. The clerk is directed to close the file for administrative purposes, and upon the

                    expiration of 60 days without activity, the clerk is directed to close the case in

                    its entirety for all purposes.



ORDERED on June 25, 2012.

                                                /s/ Richard Smoak
                                                RICHARD SMOAK
                                                UNITED STATES DISTRICT JUDGE
